                                Case 8:18-bk-00486-MGW                     Doc 1       Filed 01/23/18           Page 1 of 36

Fill in this information to identify your case:

United States Bankruptcy Court for the:

MIDDLE DISTRICT OF FLORIDA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Santos Construction Group, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                                                                                  16350 Bruce B. Downs Blvd.
                                  10629 Land O' Lakes Blvd.                                       POBox 46185
                                  Land O Lakes, FL 34638                                          Tampa, FL 33646
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Pasco                                                           Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                               Case 8:18-bk-00486-MGW                         Doc 1         Filed 01/23/18              Page 2 of 36
Debtor    Santos Construction Group, LLC                                                               Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 2361

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
                               Case 8:18-bk-00486-MGW                        Doc 1        Filed 01/23/18             Page 3 of 36
Debtor   Santos Construction Group, LLC                                                             Case number (if known)
         Name



11. Why is the case filed in     Check all that apply:
    this district?
                                          Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                          preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                          A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or           No
    have possession of any
    real property or personal                 Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                     Yes.
    property that needs
    immediate attention?                      Why does the property need immediate attention? (Check all that apply.)
                                                 It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                What is the hazard?
                                                 It needs to be physically secured or protected from the weather.
                                                 It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                 Other
                                              Where is the property?
                                                                               Number, Street, City, State & ZIP Code
                                              Is the property insured?
                                                 No
                                                 Yes.    Insurance agency
                                                         Contact name
                                                         Phone



         Statistical and administrative information

13. Debtor's estimation of       .         Check one:
    available funds
                                              Funds will be available for distribution to unsecured creditors.
                                              After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of              1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                         5001-10,000                                 50,001-100,000
                                     50-99
                                     100-199                                          10,001-25,000                               More than100,000
                                     200-999

15. Estimated Assets                 $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                     $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                     $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                     $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities            $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                     $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                     $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                     $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                             Case 8:18-bk-00486-MGW                        Doc 1        Filed 01/23/18              Page 4 of 36
Debtor    Santos Construction Group, LLC                                                           Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      January 22, 2018
                                                  MM / DD / YYYY


                             X   /s/ Andrew F. Santos                                                     Andrew F. Santos
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Authorized Member




18. Signature of attorney    X   /s/ Buddy D. Ford, Esquire                                                Date January 22, 2018
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Buddy D. Ford, Esquire 0654711
                                 Printed name

                                 Buddy D. Ford, P.A.
                                 Firm name

                                 9301 West Hillsborough Avenue
                                 Tampa, FL 33615-3008
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (813)877-4669                 Email address      All@tampaesq.com

                                 0654711 FL
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
Case 8:18-bk-00486-MGW   Doc 1   Filed 01/23/18   Page 5 of 36
                               Case 8:18-bk-00486-MGW                              Doc 1        Filed 01/23/18               Page 6 of 36




 Fill in this information to identify the case:

 Debtor name         Santos Construction Group, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                        Check if this is an
                                                                                                                                        amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                               12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          January 22, 2018                        X /s/ Andrew F. Santos
                                                                       Signature of individual signing on behalf of debtor

                                                                       Andrew F. Santos
                                                                       Printed name

                                                                       Authorized Member
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy
                                    Case 8:18-bk-00486-MGW                           Doc 1         Filed 01/23/18                Page 7 of 36


 Fill in this information to identify the case:
 Debtor name Santos Construction Group, LLC
 United States Bankruptcy Court for the: MIDDLE DISTRICT OF FLORIDA                                                                                   Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Synovus Bank                                                    90 days or less:                                    $99,980.00                        $0.00              $99,980.00
 1148 Broadway                                                   All inventory,
 Columbus, GA                                                    furniture, fixtures,
 31901                                                           equipment,
                                                                 accounts,
                                                                 instruments,
                                                                 documents, etc.
 Corporation Service                                             90 days or less:                                    $47,000.00                        $0.00              $47,000.00
 Company                                                         All inventory,
 PO Box 2576                                                     furniture, fixtures,
 UCCSPREP@CSINF                                                  equipment,
 O.COM                                                           accounts,
 Springfield, IL 62708                                           instruments,
                                                                 documents, etc.
 Blue Vine                                                       Credit Line          Unliquidated                                                                        $35,000.00
 401 Warren Street
 Redwood City, CA
 94063
 Ally Financial                                                  2016 Dodge Ram                                      $46,374.11                 $15,000.00                $31,374.11
 PO Box 380901                                                   Pickup
 Minneapolis, MN
 55438
 National Funding                                                Line of Credit                                                                                           $31,000.00
 9820 Towne Centre
 Drive
 San Diego, CA
 92121
 Home Depot                                                      Credit Card                                                                                              $26,676.18
 Credit Services
 PO Box 790328
 Saint Louis, MO
 63179
 Ally Financial                                                  2017 Dodge Ram                                      $57,964.57                 $40,000.00                $17,964.57
 PO Box 380901                                                   2500 Pickup
 Minneapolis, MN
 55438



Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy
                                    Case 8:18-bk-00486-MGW                           Doc 1         Filed 01/23/18                Page 8 of 36


 Debtor    Santos Construction Group, LLC                                                                     Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Chrysler Capital                                                2016 Dodge Ram                                      $30,700.50                 $15,000.00                $15,700.50
 PO Box 961279                                                   Pro Master Van
 Fort Worth, TX
 76161
 Internal Revenue                                                2016 taxes                                                                                               $14,350.00
 Service
 PO Box 7346
 Philadelphia, PA
 19101-7346
 Chrysler Capital                                                2016 Dodge Ram                                      $29,300.50                 $15,000.00                $14,300.50
 PO Box 961279                                                   Pro Master Van
 Fort Worth, TX
 76161
 American Express                                                Credit Card                                                                                              $13,500.00
 Business
 Customer Service
 PO Box 981535
 El Paso, TX
 79998-1535
 Fundbox                                                         Credit                                                                                                   $10,000.00
 300 Montgomery St.
 San Francisco, CA
 94104
 Ally Financial                                                  2017 Dodge Pro                                      $25,693.53                 $18,000.00                  $7,693.53
 PO Box 380901                                                   Master Van
 Minneapolis, MN
 55438
 Lowe's                                                          Credit Card                                                                                                $5,100.00
 Busniess Account
 PO Box 530970
 Atlanta, GA
 30353-0970
 Sprint Wireless                                                 Services                                                                                                   $3,748.75
 PO Box 629023
 El Dorado Hills, CA
 95762
 American Express                                                Credit Card                                                                                                $2,846.06
 Blue
 Customer Service
 PO Box 981535
 El Paso, TX
 79998-1535
 Synovus Bank                                                    Credit Card                                                                                                $1,875.00
 PO Box 120
 Columbus, GA
 31902




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy
                                     Case 8:18-bk-00486-MGW                                              Doc 1              Filed 01/23/18                         Page 9 of 36
 Fill in this information to identify the case:

 Debtor name            Santos Construction Group, LLC

 United States Bankruptcy Court for the:                       MIDDLE DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           173,294.23

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           173,294.23


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $           337,013.21


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $            14,350.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           179,745.99


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $             531,109.20




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                                                          Best Case Bankruptcy
                              Case 8:18-bk-00486-MGW                             Doc 1      Filed 01/23/18           Page 10 of 36
 Fill in this information to identify the case:

 Debtor name         Santos Construction Group, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                            Check if this is an
                                                                                                                                            amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                           12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                        Current value of
                                                                                                                                            debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                                  Last 4 digits of account
                                                                                                                 number


           3.1.     Synovus                                                      Checking                        8567                                             $0.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                                $0.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable
           11a. 90 days old or less:                                 37,744.23   -                                0.00 = ....                            $37,744.23
                                              face amount                            doubtful or uncollectible accounts




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                                    page 1
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
                              Case 8:18-bk-00486-MGW                         Doc 1     Filed 01/23/18         Page 11 of 36

 Debtor         Santos Construction Group, LLC                                                Case number (If known)
                Name


 12.       Total of Part 3.                                                                                                        $37,744.23
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used   Current value of
                                                                              debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 39.       Office furniture

 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Laptop                                                                           $0.00                                            $50.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                                 $50.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 2
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                  Best Case Bankruptcy
                              Case 8:18-bk-00486-MGW                         Doc 1     Filed 01/23/18         Page 12 of 36

 Debtor         Santos Construction Group, LLC                                                Case number (If known)
                Name


        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used   Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value       debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     2017 Dodge Pro Master Van                                              $0.00                                      $18,000.00


           47.2.     2016 Dodge Ram Pickup                                                  $0.00                                      $15,000.00


           47.3.     2017 Dodge Ram 2500 Pickup                                             $0.00                                      $40,000.00


           47.4.     2016 Dodge Ram Pro Master Van                                          $0.00                                      $15,000.00


           47.5.     2016 Dodge Ram Pro Master Van                                          $0.00                                      $15,000.00


           47.6.     2 Utility trailers                                                     $0.00                                        $1,500.00


           47.7.     Dump Trailer                                                           $0.00                                        $8,000.00


           47.8.     Pressure washing rig                                                   $0.00                                        $8,500.00


           47.9.     Enclosed trailer                                                       $0.00                                        $7,500.00



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Various Tools: Ladders, Shop vacs, Screw
           drivers, wheel barrows, trash cans, shovels,
           Hammers, and Saws, etc.                                                          $0.00                                        $7,000.00




 51.       Total of Part 8.                                                                                                       $135,500.00
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 3
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                  Best Case Bankruptcy
                              Case 8:18-bk-00486-MGW                         Doc 1     Filed 01/23/18         Page 13 of 36

 Debtor         Santos Construction Group, LLC                                               Case number (If known)
                Name

54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 4
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                            Best Case Bankruptcy
                                Case 8:18-bk-00486-MGW                                     Doc 1            Filed 01/23/18               Page 14 of 36

 Debtor          Santos Construction Group, LLC                                                                      Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                     $0.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                     $37,744.23

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                 $50.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $135,500.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                            $173,294.23           + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $173,294.23




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 5
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                                 Best Case Bankruptcy
                               Case 8:18-bk-00486-MGW                              Doc 1         Filed 01/23/18        Page 15 of 36
 Fill in this information to identify the case:

 Debtor name         Santos Construction Group, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1   Ally Financial                                 Describe debtor's property that is subject to a lien                   $25,693.53                $18,000.00
       Creditor's Name                                2017 Dodge Pro Master Van
       PO Box 380901
       Minneapolis, MN 55438
       Creditor's mailing address                     Describe the lien
                                                      Security Agreement
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2   Ally Financial                                 Describe debtor's property that is subject to a lien                   $46,374.11                $15,000.00
       Creditor's Name                                2016 Dodge Ram Pickup
       PO Box 380901
       Minneapolis, MN 55438
       Creditor's mailing address                     Describe the lien
                                                      Security Agreement
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 4
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                               Case 8:18-bk-00486-MGW                              Doc 1         Filed 01/23/18          Page 16 of 36
 Debtor       Santos Construction Group, LLC                                                           Case number (if know)
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.3   Ally Financial                                 Describe debtor's property that is subject to a lien                     $57,964.57   $40,000.00
       Creditor's Name                                2017 Dodge Ram 2500 Pickup
       PO Box 380901
       Minneapolis, MN 55438
       Creditor's mailing address                     Describe the lien
                                                      Security Agreement
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.4   Chrysler Capital                               Describe debtor's property that is subject to a lien                     $29,300.50   $15,000.00
       Creditor's Name                                2016 Dodge Ram Pro Master Van
       PO Box 961279
       Fort Worth, TX 76161
       Creditor's mailing address                     Describe the lien
                                                      Security Agreement
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.5   Chrysler Capital                               Describe debtor's property that is subject to a lien                     $30,700.50   $15,000.00
       Creditor's Name                                2016 Dodge Ram Pro Master Van
       PO Box 961279
       Fort Worth, TX 76161
       Creditor's mailing address                     Describe the lien
                                                      Security Agreement
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes


Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page 2 of 4
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
                                Case 8:18-bk-00486-MGW                             Doc 1         Filed 01/23/18          Page 17 of 36
 Debtor       Santos Construction Group, LLC                                                           Case number (if know)
              Name

                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



        Corporation Service
 2.6                                                  Describe debtor's property that is subject to a lien                      $47,000.00         $0.00
        Company
        Creditor's Name                               90 days or less: All inventory, furniture,
        PO Box 2576                                   fixtures, equipment, accounts, instruments,
        UCCSPREP@CSINFO.COM                           documents, etc.
        Springfield, IL 62708
        Creditor's mailing address                    Describe the lien
                                                      UCC-1
                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



 2.7    Synovus Bank                                  Describe debtor's property that is subject to a lien                      $99,980.00         $0.00
        Creditor's Name                               90 days or less: All inventory, furniture,
                                                      fixtures, equipment, accounts, instruments,
        1148 Broadway                                 documents, etc.
        Columbus, GA 31901
        Creditor's mailing address                    Describe the lien
                                                      UCC-1 - Line of Credit
                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.              $337,013.21


Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page 3 of 4
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                           Best Case Bankruptcy
                              Case 8:18-bk-00486-MGW                        Doc 1        Filed 01/23/18                Page 18 of 36
 Debtor       Santos Construction Group, LLC                                                     Case number (if know)
              Name

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
        Kabbage, Inc.
        925B Peachtreet St. NE                                                                            Line   2.6
        Suite 1688
        Atlanta, GA 30309

        Synovus Bank
        PO Box 120                                                                                        Line   2.7
        Columbus, GA 31902




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 4 of 4
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
                              Case 8:18-bk-00486-MGW                                  Doc 1            Filed 01/23/18               Page 19 of 36
 Fill in this information to identify the case:

 Debtor name         Santos Construction Group, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                                            Check if this is an
                                                                                                                                                            amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                           12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                              Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                  $14,350.00         $14,350.00
           Internal Revenue Service                                  Check all that apply.
           PO Box 7346                                                  Contingent
           Philadelphia, PA 19101-7346                                  Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     2016 taxes

           Last 4 digits of account number 4350                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                    $2,846.06
           American Express Blue                                                       Contingent
           Customer Service                                                            Unliquidated
           PO Box 981535                                                               Disputed
           El Paso, TX 79998-1535
                                                                                   Basis for the claim:     Credit Card
           Date(s) debt was incurred
           Last 4 digits of account number                                         Is the claim subject to offset?           No   Yes


 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                   $13,500.00
           American Express Business                                                   Contingent
           Customer Service                                                            Unliquidated
           PO Box 981535                                                               Disputed
           El Paso, TX 79998-1535
                                                                                   Basis for the claim:     Credit Card
           Date(s) debt was incurred
           Last 4 digits of account number                                         Is the claim subject to offset?           No   Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                              page 1 of 3
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                   26457                                           Best Case Bankruptcy
                              Case 8:18-bk-00486-MGW                           Doc 1           Filed 01/23/18                 Page 20 of 36
 Debtor       Santos Construction Group, LLC                                                          Case number (if known)
              Name

 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,000.00
          Andrew F. Santos                                                      Contingent
          16350 Bruce B. Downs Blvd.                                            Unliquidated
          Tampa, FL 33646                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $35,000.00
          Blue Vine                                                             Contingent
          401 Warren Street                                                     Unliquidated
          Redwood City, CA 94063
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Credit Line
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,000.00
          Fundbox                                                               Contingent
          300 Montgomery St.                                                    Unliquidated
          San Francisco, CA 94104                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Credit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $26,676.18
          Home Depot                                                            Contingent
          Credit Services                                                       Unliquidated
          PO Box 790328                                                         Disputed
          Saint Louis, MO 63179
                                                                             Basis for the claim:    Credit Card
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,100.00
          Lowe's                                                                Contingent
          Busniess Account                                                      Unliquidated
          PO Box 530970                                                         Disputed
          Atlanta, GA 30353-0970
                                                                             Basis for the claim:    Credit Card
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $31,000.00
          National Funding                                                      Contingent
          9820 Towne Centre Drive                                               Unliquidated
          San Diego, CA 92121                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Line of Credit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,748.75
          Sprint Wireless                                                       Contingent
          PO Box 629023                                                         Unliquidated
          El Dorado Hills, CA 95762                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 2 of 3
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
                              Case 8:18-bk-00486-MGW                           Doc 1           Filed 01/23/18                  Page 21 of 36
 Debtor       Santos Construction Group, LLC                                                          Case number (if known)
              Name

 3.10      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $1,875.00
           Synovus Bank                                                         Contingent
           PO Box 120                                                           Unliquidated
           Columbus, GA 31902                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Credit Card
           Last 4 digits of account number
                                                                             Is the claim subject to offset?         No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any
 4.1       American Express
           c/o Becket and Lee LLP                                                                     Line     3.2
           PO Box 3001
                                                                                                             Not listed. Explain
           Malvern, PA 19355


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                          Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.          $                      14,350.00
 5b. Total claims from Part 2                                                                            5b.    +     $                     179,745.99

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.          $                        194,095.99




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 3 of 3
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy
                              Case 8:18-bk-00486-MGW                        Doc 1    Filed 01/23/18            Page 22 of 36
 Fill in this information to identify the case:

 Debtor name         Santos Construction Group, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1.        State what the contract or                   Landlord - Office /
             lease is for and the nature of               Storage of assets of
             the debtor's interest                        Debtor - $1,750 / mo.
                                                          Note: Debtor just
                                                          entered into lease for
                                                          office space has no
                                                          furnishing as of date of
                                                          filing
                  State the term remaining
                                                                                     Robert Lester
             List the contract number of any                                         10629 Land O' Lakes Blvd.
                   government contract                                               Land O Lakes, FL 34638


 2.2.        State what the contract or                   Service Agreement -
             lease is for and the nature of               Cell Phone
             the debtor's interest

                  State the term remaining
                                                                                     T-Mobil
             List the contract number of any                                         PO Box 37380
                   government contract                                               Albuquerque, NM 87176-7380




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
                              Case 8:18-bk-00486-MGW                         Doc 1    Filed 01/23/18       Page 23 of 36
 Fill in this information to identify the case:

 Debtor name         Santos Construction Group, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                    Name                           Check all schedules
                                                                                                                                 that apply:
    2.1                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State       Zip Code


    2.2                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State       Zip Code


    2.3                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State       Zip Code


    2.4                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State       Zip Code




Official Form 206H                                                            Schedule H: Your Codebtors                                      Page 1 of 1
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy
                              Case 8:18-bk-00486-MGW                            Doc 1        Filed 01/23/18             Page 24 of 36



 Fill in this information to identify the case:

 Debtor name         Santos Construction Group, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                                  $9,850.24
       From 1/01/2018 to Filing Date
                                                                                                   Other    Estimated YTD


       For prior year:                                                                             Operating a business                               $595,344.25
       From 1/01/2017 to 12/31/2017
                                                                                                   Other    Estimated YTD


       For year before that:                                                                       Operating a business                               $276,919.00
       From 1/01/2016 to 12/31/2016
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
                              Case 8:18-bk-00486-MGW                              Doc 1      Filed 01/23/18             Page 25 of 36
 Debtor      Santos Construction Group, LLC                                                             Case number (if known)



    or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
    may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                           Dates                Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions               Dates given                              Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 2
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                              Case 8:18-bk-00486-MGW                              Doc 1         Filed 01/23/18             Page 26 of 36
 Debtor        Santos Construction Group, LLC                                                               Case number (if known)



       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss         Value of property
       how the loss occurred                                                                                                                                   lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).
       Truck Wreck damage                                        Insurance Company paid for repairs                                                      $7,500.00


 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates               Total amount or
                the transfer?                                                                                                                               value
                Address
       11.1.    Buddy D. Ford, P.A.
                9301 West Hillsborough
                Avenue
                Tampa, FL 33615-3008                                 Attorney Fees                                             01/12/18                $11,717.00

                Email or website address
                All@tampaesq.com

                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                   Dates transfers           Total amount or
                                                                                                                         were made                          value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                            Description of property transferred or                     Date transfer          Total amount or
               Address                                           payments received or debts paid in exchange                was made                        value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                      Dates of occupancy
                                                                                                                             From-To

 Part 8:       Health Care Bankruptcies

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 3
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
                              Case 8:18-bk-00486-MGW                            Doc 1        Filed 01/23/18             Page 27 of 36
 Debtor      Santos Construction Group, LLC                                                             Case number (if known)



15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                        Nature of the business operation, including type of services           If debtor provides meals
                                                                 the debtor provides                                                    and housing, number of
                                                                                                                                        patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was              Last balance
               Address                                           account number           instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

       Depository institution name and address                       Names of anyone with                 Description of the contents            Do you still
                                                                     access to it                                                                have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


           None

       Facility name and address                                     Names of anyone with                 Description of the contents            Do you still
                                                                     access to it                                                                have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 4
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
                              Case 8:18-bk-00486-MGW                            Doc 1        Filed 01/23/18              Page 28 of 36
 Debtor      Santos Construction Group, LLC                                                             Case number (if known)




21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None

       Owner's name and address                                      Location of the property             Describe the property                                      Value
       Employees                                                                                          Bring their own tools                                 Unknown



 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 5
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
                              Case 8:18-bk-00486-MGW                            Doc 1        Filed 01/23/18             Page 29 of 36
 Debtor      Santos Construction Group, LLC                                                             Case number (if known)



       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26a.1.       Andrew F. Santos                                                                                                     01/08/2014
                    16350 Bruce B. Downs Blvd.                                                                                           (Incorporation) to
                    Box 46185                                                                                                            present
                    Tampa, FL 33646
       26a.2.       Julissa Rosado, Accountant                                                                                           2015 to present
                    7208 N. Armenia Avenue
                    Tampa, FL 33604

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Andrew F. Santos                               16350 Bruce B. Downs Blvd.                          AMBR                                  100%
                                                      Box 46185
                                                      Tampa, FL 33646
       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Victoria A. Hernandez                          16350 Bruce B. Downs Blvd.                          AMBR                                  0%
                                                      Tampa, FL 33646



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 6
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
                              Case 8:18-bk-00486-MGW                             Doc 1       Filed 01/23/18             Page 30 of 36
 Debtor      Santos Construction Group, LLC                                                             Case number (if known)



    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.1 Andrew F. Santos                                                                                             Salary - every
       .    16350 Bruce B. Downs Blvd.                                                                                   2 weeks
               Box 46185                                         $2,000 salary                                           Draws -
               Tampa, FL 33646                                   $2,000 draws                                            monthly           Personal Income

               Relationship to debtor
               Officer / Owner


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 7
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy
                              Case 8:18-bk-00486-MGW                            Doc 1        Filed 01/23/18             Page 31 of 36
 Debtor      Santos Construction Group, LLC                                                             Case number (if known)




 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         January 22, 2018

 /s/ Andrew F. Santos                                                   Andrew F. Santos
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Authorized Member

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                         page 8
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                       Best Case Bankruptcy
                              Case 8:18-bk-00486-MGW                          Doc 1        Filed 01/23/18              Page 32 of 36

                                                               United States Bankruptcy Court
                                                                       Middle District of Florida
 In re      Santos Construction Group, LLC                                                                            Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Andrew F. Santos                                                                                                                100%
 16350 Bruce B. Downs Blvd.
 Box 46185
 Tampa, FL 33646


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Authorized Member of the corporation named as the debtor in this case, declare under penalty of perjury that
I have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and
belief.



 Date January 22, 2018                                                       Signature /s/ Andrew F. Santos
                                                                                            Andrew F. Santos

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                              Case 8:18-bk-00486-MGW                        Doc 1      Filed 01/23/18   Page 33 of 36




                                                               United States Bankruptcy Court
                                                                     Middle District of Florida
 In re      Santos Construction Group, LLC                                                              Case No.
                                                                                 Debtor(s)              Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the Authorized Member of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true

and correct to the best of my knowledge.




 Date:       January 22, 2018                                         /s/ Andrew F. Santos
                                                                      Andrew F. Santos/Authorized Member
                                                                      Signer/Title




Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
                   Case 8:18-bk-00486-MGW    Doc 1     Filed 01/23/18   Page 34 of 36


    }
    b
    k
    1
    {
    C
    r
    e
    d
    i
    t
    o
    A
    s
    M
    a
    x




Santos Construction Group, LLC     Buddy D. Ford, Esquire                 Ally Financial
16350 Bruce B. Downs Blvd.         Buddy D. Ford, P.A.                    PO Box 380901
POBox 46185                        9301 West Hillsborough Avenue          Minneapolis, MN 55438
Tampa, FL 33646                    Tampa, FL 33615-3008



American Express                   American Express Blue                  American Express Business
c/o Becket and Lee LLP             Customer Service                       Customer Service
PO Box 3001                        PO Box 981535                          PO Box 981535
Malvern, PA 19355                  El Paso, TX 79998-1535                 El Paso, TX 79998-1535



Andrew F. Santos                   Blue Vine                              Chrysler Capital
16350 Bruce B. Downs Blvd.         401 Warren Street                      PO Box 961279
Tampa, FL 33646                    Redwood City, CA 94063                 Fort Worth, TX 76161




Corporation Service Company        Fundbox                                Home Depot
PO Box 2576                        300 Montgomery St.                     Credit Services
UCCSPREP@CSINFO.COM                San Francisco, CA 94104                PO Box 790328
Springfield, IL 62708                                                     Saint Louis, MO 63179



Internal Revenue Service           Kabbage, Inc.                          Lowe's
PO Box 7346                        925B Peachtreet St. NE                 Busniess Account
Philadelphia, PA 19101-7346        Suite 1688                             PO Box 530970
                                   Atlanta, GA 30309                      Atlanta, GA 30353-0970



National Funding                   Sprint Wireless                        Synovus Bank
9820 Towne Centre Drive            PO Box 629023                          1148 Broadway
San Diego, CA 92121                El Dorado Hills, CA 95762              Columbus, GA 31901




Synovus Bank
PO Box 120
Columbus, GA 31902
                              Case 8:18-bk-00486-MGW                            Doc 1      Filed 01/23/18        Page 35 of 36
B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                        Middle District of Florida
 In re       Santos Construction Group, LLC                                                                      Case No.
                                                                                     Debtor(s)                   Chapter     11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                     $               10,000.00
             Prior to the filing of this statement I have received                                           $               10,000.00
             Balance Due                                                                                     $                    0.00

2.     $    1,717.00        of the filing fee has been paid.

3.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

4.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):           Additional fees and/or costs after depletion of the retainer, if any, shall be
                                                                     applied for

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]


7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                             CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     January 22, 2018                                                                /s/ Buddy D. Ford, Esquire
     Date                                                                            Buddy D. Ford, Esquire 0654711
                                                                                     Signature of Attorney
                                                                                     Buddy D. Ford, P.A.
                                                                                     9301 West Hillsborough Avenue
                                                                                     Tampa, FL 33615-3008
                                                                                     (813)877-4669 Fax: (813)877-5543
                                                                                     All@tampaesq.com
                                                                                     Name of law firm




Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
                              Case 8:18-bk-00486-MGW                        Doc 1      Filed 01/23/18   Page 36 of 36




                                                               United States Bankruptcy Court
                                                                     Middle District of Florida
 In re      Santos Construction Group, LLC                                                              Case No.
                                                                                 Debtor(s)              Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Santos Construction Group, LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 January 22, 2018                                                    /s/ Buddy D. Ford, Esquire
 Date                                                                Buddy D. Ford, Esquire 0654711
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for Santos Construction Group, LLC
                                                                     Buddy D. Ford, P.A.
                                                                     9301 West Hillsborough Avenue
                                                                     Tampa, FL 33615-3008
                                                                     (813)877-4669 Fax:(813)877-5543
                                                                     All@tampaesq.com




Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                      Best Case Bankruptcy
